   Case 1:19-md-02875-RMB-SAK                   Document 2926           Filed 11/12/24   Page 1 of 2 PageID:
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                          S KADDEN , A RPS , S LATE , M EAGHER & F LOM LLP
                                           1440 NEW YORK AVENUE , N .W.
                                                                                                    FIRM/AFFILIATE OFFICES
                                          WASHINGTON , D .C. 20005 -2111                                    -----------
                                                            ________                                       BOSTON
                                                                                                          CHICAGO
                                                    TEL: (202) 371-7000                                   HOUSTON
                                                    FAX: (202) 393-5760                                 LOS ANGELES
                                                                                                          NEW YORK
                                                      www.skadden.com                                    PALO ALTO
   DIRECT DIAL                                                                                           WILMINGTON
                                                                                                            -----------
(202) 371-7105
                                                                                                           BEIJING
   DIRECT FAX
                                                                                                         BRUSSELS
(202) 661-0575                                                                                          FRANKFURT
   EMAIL ADDRESS                                                                                        HONG KONG
NINA.ROSE@SKADDEN.COM                                                                                     LONDON
                                                                                                           MUNICH
                                                                                                            PARIS
                                                                                                        SÃO PAULO
                                                                                                           SEOUL
                                                        November 12, 2024                                SHANGHAI
                                                                                                        SINGAPORE
                                                                                                            TOKYO
                                                                                                          TORONTO


       VIA ECF

       The Honorable Thomas I. Vanaskie
       Special Master for Discovery
       Stevens & Lee
       1818 Market Street, 29th Floor
       Philadelphia, PA 19103

                          Re:     In re Valsartan, Losartan, and Irbesartan Liability Litigation,
                                  Case No. 1:19-md-02875-RMB (D.N.J.)

       Dear Special Master Vanaskie:

               In accordance with Your Honor’s direction at the October 29, 2024 status conference, I
       write to inform you that the ZHP Defendants and the Plaintiffs have met and conferred regarding
       the proposed case management schedule for the Roberts case, which is set for trial on September
       8, 2025. The parties have reached agreement on all pre-trial deadlines, with the exception of the
       time period allotted for depositions of the parties’ expert witnesses.

               The ZHP Defendants believe that they should be entitled to depose some or all of
       plaintiffs’ experts prior to the submission of the ZHP Defendants’ responsive expert reports,
       while Plaintiffs contend that the ZHP Defendants should not be allowed to depose Plaintiffs’
       experts until after the submission of the ZHP Defendants’ expert reports. The parties jointly
       request permission to submit short letter briefs on this issue by November 19, 2024 at 5 p.m.
       (ET).

                   Thank you for your consideration of this request.
Case 1:19-md-02875-RMB-SAK             Document 2926   Filed 11/12/24   Page 2 of 2 PageID:
                                            108232


 November 12, 2024
 Page 2



                                                  Respectfully,




                                                  Nina R. Rose

 cc: All counsel of record (via ECF)
